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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE


In re:                                                 Chapter 11

BOY SCOUTS OF AMERICA AND                              Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,1
                                                       Jointly Administered
                              Debtors.
                                                       Re: Docket No. 11740


                                NOTICE OF WITHDRAWAL

         Please take notice that Andreozzi + Foote (“A+F”), by and through their undersigned

counsel, hereby withdraws the document docketed as the Joinder of the Andreozzi + Foote

Claimants to the Motion for Extension of Time to Elect the Independent Review Option Brought

by the Pfau/Zalkin Claimants and the Settlement Trust Advisory Committee [D.I. 11740] which

was filed on January 25, 2024 in the above-captioned case.


DATED: February 2, 2024                     Respectfully Submitted,

                                            BIELLI & KLAUDER, LLC

                                            /s/ David M. Klauder
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                                                   —and—

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